        Case 3:15-cv-00907-AC      Document 138-10    Filed 02/28/18   Page 1 of 3




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                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


   DALLAS BUYERS CLUB, LLC,                  Case No.: 3:15-cv-0907-AC

                 Plaintiff,                  DECLARATION OF KIREN
   v.                                        ROCKENSTEIN IN SUPPORT OF
                                             DEFENDANT’S MOTION FOR
   JOHN HUSZAR                               SUMMARY JUDGMENT
                                             (DR. KAL TOTH REPORTS)
                 Defendants.




                                        Page 1
      Case 3:15-cv-00907-AC           Document 138-10       Filed 02/28/18      Page 2 of 3




I, Kiren Rockenstein, declare as follows:

   1. I am an attorney licensed to practice law within the States of California and Oregon. I
       am admitted to several district courts.
   2. I am co-counsel of record for Defendant John Huszar (“Defendant”).
   3. Attached as Exhibit 1 is a true and correct copy of the expert report, entitled “Third Expert
       Report: Assessment of MaverickMonitor Software Reliability”, dated February 27, 2018.
   4. This report was produced by Dr. Kal Toth, P.Eng, who has been retained by Defendant's
       counsel to assess the accuracy and reliability of the software used by the Plaintiff’s
       "private investigator" to collect evidence in connection with the alleged infringements.
       This report was produced after Dr. Toth reviewed the source code produced by Plaintiff.
   5. Attached as Exhibit 2 is a true and correct copy of the expert report, entitled “Second
       Expert Report of Dr. Toth Concerning the Maverickeye Case”, dated December 24, 2017.
   6. Attached as Exhibit 3 is a true and correct copy of the expert report produced by Dr. Toth,
       entitled “Expert Report of Dr. Toth Concerning Technical Report to Maverickeye”, dated
       May 10, 2017. This report was prepared in connection with Clear Skies Nevada LLC v
       Hancock in the District Illinios (1:15-cv-06708). Judgment has been entered in this case,
       in favor of the Defendant in the amount of $65,268.31.
   7. Attached as Exhibit 4 is a true and correct copy of the expert report produced by Dr. Toth,
       entitled “Expert Report Re. Malibu LLC vs. John Doe”, dated December 14, 2016. This
       report was prepared in connection with the matter of Malibu LLC vs. John Doe in the
       Northern District of California (3:15-cv-04441-WHA) which analyzed the system used
       by Excipio, a company run by the same team as MaverickMonitor. The report concludes
       that the software used to monitor torrents was developed in an ad hoc fashion and cannot
       be relied upon forensically.
   8. Attached as Exhibit 5 is a true and correct copy of the expert rebuttal report produced by
       Dr. Toth, entitled “Rebuttal of Patzer Declaration and Paige Expert Report”, dated Dec
       28, 2016 filed in the matter of Malibu LLC vs. John Doe referenced above.
   9. Attached as Exhibit 6 is a true and correct copy of the expert rebuttal report produced by
       Dr. Toth, entitled “Response to Patzer Supplemental Expert Report”, dated January 10,
       2017, filed in the matter of Malibu LLC vs. John Doe referenced above.




                                            Page 2
       Case 3:15-cv-00907-AC        Document 138-10        Filed 02/28/18     Page 3 of 3




I swear under the penalty of perjury under the laws of the United States of America that the above
is true and correct.


Executed on:    February 28, 2018




                                         Kiren Rockenstein
                                         Declarant




                                           Page 3
